497 F.2d 111
    John MUSGRAVE and Bart Savage, and all others similarlysituated, Petitioners,v.The Honorable Winston E. ARNOW, Chief Judge, United StatesDistrict Court For the Northern District ofFlorida, Respondents.
    No. 73-2776.
    United States Court of Appeals, Fifth Circuit.
    July 11, 1974.
    
      Stephen N. Bernstein, Gainesville, Fla., for petitioners.
      William H. Stafford, Jr., U.S. Atty., Pensacola, Fla., for respondents.
      Before BROWN, Chief Judge, and GOLDBERG and SIMPSON, Circuit Judges.
      PER CURIAM:
    
    
      1
      Petitioners sought by mandamus to prevent the District Court from enforcing its order of July 12, 1973, which prohibited persons not parties to the case from making public statements during the pendency of the trial.  The case has been fully tried resulting in judgments of acquittal and we therefore dismiss the request for relief as moot.1
    
    
      
        1
         For related cases see United States v. Columbia Broadcasting System, Inc., 5 Cir. 1974, 497 F.2d 102; United States v. Columbia Broadcasting System, Inc., 5 Cir. 1974, 497 F.2d 107; National Broadcasting Company, Inc. v. Arnow, 5 Cir. 1974, 497 F.2d 110; Columbia Broadcasting System, Inc. v. Arnow, 5 Cir. 1974, 497 F.2d 110
      
    
    